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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

GERONIMO & TERESA GARCIA
Plaintiffs,
V. CIVIL ACTION NO. 5:16-CV-1()01

THE TRAVELERS HOME AND
MARINE INSURANCE COMPANY

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Defendant

DEFENDANT THE TRAVELERS HOME AND MARINE INSURANCE COMPANY’S
NOTICE OF REM()VAL

Defendant THE TRAVELERS HOl\/IE AND l\/IARINE INSURANCE COl\/IPANY,
(“Travelers” or “Defendant”), files its Notice of Rernoval of this action from the ZSSTH Judicial
District Court, BeXar County, TeXas to the United States District Court for the Western District of
TeXas, San Antonio Division, the Court for the District and Division encompassing the place where
the lawsuit is currently pending In support of this removal, Defendant relies upon the Appendix
Filed in Support of Defendant’ s Notice of Rernoval filed contemporaneously herewith and shows the

following

I.
M n f 7 a rfNTRoDUCTION

 

l, On Septernber 22, 2016, Plaintiffs Geronirno and Teresa Garcia filed their original petition
in the ZSSTH Judicial District Court, BeXar County, Texas captioned Gerom`mo & Teresa Garcz'a v.
The vaelers Home & Marz`ne [nsumnce Compcmy, Cause Nurnber 2016 Cl 16467 (the “State Court

Action”).

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2. Citation for the State Court Action was issued on September 23, 20l6, and served on
Travelers via Certified l\/lail on September 28, 2016.

II.
BASIS FOR REMOVAL

3. This Court has original jurisdiction over this State Court Action, pursuant to 28 U.S.C.
§l332(a), because it is a civil action between citizens of different states where the matter in
controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

4. The Plaintiffs seek monetary relief of over $lO0,000.00. See Exhibit A-l, page l.
Accordingly, the amount in controversy in this matter meets and exceeds the federal jurisdictional
minimum of 875,000, exclusive of interest and costs

5. Plaintiffs were at the time of the filing of this action, have been at all times since, and still
are individual resident citizens of Texas. For diversity purposes, an individual is a citizen of the state
of her domicile, which is the place of her true, fixed, and permanent home and principal
establishment, to which she has the intention of returning home whenever she is absent therefrom
See Stine v. Moore, 213 F.2d 446, 448 (Sth Cir. 1954). Accordingly, Plaintiffs are citizens of Texas.

6. On the date of this removal and at all relevant times, Defendant Travelers Home and
l\/larine lnsurance Company is a citizen of the State of Connecticut because it is a Connecticut
corporationwith~its principalplaee' of business in the state of Connecticut

7. Because the amount in controversy exceeds $75,000 and Plaintiffs are citizens of Texas
while no properly joined defendant is a citizen of Texas, this Court has original jurisdiction over the
present action pursuant to 28 USC §1332. Therefore, removal is proper.

8. This action may be removed to this Court pursuant to 28 USC § 1441 (a), which allows for

the removal of any civil action brought in the state court of which the District Courts of the United

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States have original jurisdiction, by the defendant or the defendants, to the District Court of the
United States for the district and division embracing the place where such action is pending

9. This Notice of Removal is filed within thirty (3 0) days after service (on September 28,
2()l 6) by Defendant of the State Court Action. This Notice of Removal has also been filed within
one year of the filing of Plaintiffs Original Petition by which the State Court Action was

commenced This Notice, therefore, is timely filed pursuant to 28 USC §1446 (b).

III.
PROCEDURAL REQUIREMENTS

lO. ln accordance with 28 USC section 1446 (D), Defendant will promptly give written
notice of this Notice of Removal to Plaintiff through counsel of record and file a copy of this Notice
of Removal in the 288TH Judicial District Court, Bexar County, Texas.

ll. Defendant reserves the right to amend or supplement this Notice of Removal.

l2. The following are included in the Appendix filed contemporaneously with this Notice of
Removal:

(a) an index of all documents that clearly identifies each document and indicates the date
the document was filed in the State Court Action;

(b) a copy of each document filed in the State Court Action, except discovery material,
arranged in chronological order according to the state court filing date;

(c) a separately filed JS 44 Civil Cover Sheet; and

(d) a separately filed Supplement to JS 44 Civil Cover Sheet for Cases Removed from

State District Court.

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For the above reasons, Defendant gives notice of the removal of the State Court Action to this
Court and respectfully request that this action proceed before this Court as though it had originally
been instituted in this Court.
Dated: E_;_ October, 2016
Respectfully submitted,

ADAl\/ll, SHUFFIELD, SCHEIHING
& BURNS, P.C.

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ATTORNEY FOR DEFENDANT

 

 

 

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing document has been
forwarded to the following counsel of record in compliance with the Federal Rules of Civil

Procedure this § l day of October, 2016:

Derek L. Fadner

J ames l\/l. McClenny

J. Zachary l\/loseley

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